4:02-cv-40249-PVG Doc # 20 Filed 08/29/03 Pg 1 of 29   Pg ID 45
4:02-cv-40249-PVG Doc # 20 Filed 08/29/03 Pg 2 of 29   Pg ID 46
4:02-cv-40249-PVG Doc # 20 Filed 08/29/03 Pg 3 of 29   Pg ID 47
4:02-cv-40249-PVG Doc # 20 Filed 08/29/03 Pg 4 of 29   Pg ID 48
4:02-cv-40249-PVG Doc # 20 Filed 08/29/03 Pg 5 of 29   Pg ID 49
4:02-cv-40249-PVG Doc # 20 Filed 08/29/03 Pg 6 of 29   Pg ID 50
4:02-cv-40249-PVG Doc # 20 Filed 08/29/03 Pg 7 of 29   Pg ID 51
4:02-cv-40249-PVG Doc # 20 Filed 08/29/03 Pg 8 of 29   Pg ID 52
4:02-cv-40249-PVG Doc # 20 Filed 08/29/03 Pg 9 of 29   Pg ID 53
4:02-cv-40249-PVG Doc # 20 Filed 08/29/03 Pg 10 of 29   Pg ID 54
4:02-cv-40249-PVG Doc # 20 Filed 08/29/03 Pg 11 of 29   Pg ID 55
4:02-cv-40249-PVG Doc # 20 Filed 08/29/03 Pg 12 of 29   Pg ID 56
4:02-cv-40249-PVG Doc # 20 Filed 08/29/03 Pg 13 of 29   Pg ID 57
4:02-cv-40249-PVG Doc # 20 Filed 08/29/03 Pg 14 of 29   Pg ID 58
4:02-cv-40249-PVG Doc # 20 Filed 08/29/03 Pg 15 of 29   Pg ID 59
4:02-cv-40249-PVG Doc # 20 Filed 08/29/03 Pg 16 of 29   Pg ID 60
4:02-cv-40249-PVG Doc # 20 Filed 08/29/03 Pg 17 of 29   Pg ID 61
4:02-cv-40249-PVG Doc # 20 Filed 08/29/03 Pg 18 of 29   Pg ID 62
4:02-cv-40249-PVG Doc # 20 Filed 08/29/03 Pg 19 of 29   Pg ID 63
4:02-cv-40249-PVG Doc # 20 Filed 08/29/03 Pg 20 of 29   Pg ID 64
4:02-cv-40249-PVG Doc # 20 Filed 08/29/03 Pg 21 of 29   Pg ID 65
4:02-cv-40249-PVG Doc # 20 Filed 08/29/03 Pg 22 of 29   Pg ID 66
4:02-cv-40249-PVG Doc # 20 Filed 08/29/03 Pg 23 of 29   Pg ID 67
4:02-cv-40249-PVG Doc # 20 Filed 08/29/03 Pg 24 of 29   Pg ID 68
4:02-cv-40249-PVG Doc # 20 Filed 08/29/03 Pg 25 of 29   Pg ID 69
4:02-cv-40249-PVG Doc # 20 Filed 08/29/03 Pg 26 of 29   Pg ID 70
4:02-cv-40249-PVG Doc # 20 Filed 08/29/03 Pg 27 of 29   Pg ID 71
4:02-cv-40249-PVG Doc # 20 Filed 08/29/03 Pg 28 of 29   Pg ID 72
4:02-cv-40249-PVG Doc # 20 Filed 08/29/03 Pg 29 of 29   Pg ID 73
